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 3                                 UNITED STATES DISTRICT COURT
 4                                         DISTRICT OF NEVADA
 5                                                    ***
 6     UNITED STATES OF AMERICA,                             Case No. 2:17-cr-00001-JAD-CWH
 7                            Plaintiff,
                                                             ORDER
 8           v.
 9     LUCAS COELHO PAIVA REGO, et al.,
10                            Defendants.
11

12           This matter is before the court on the briefing schedule for pretrial motions that is set forth

13    in the court’s order (ECF No. 251), entered on March 8, 2018.

14           In reviewing the docket in this case, it came to the court’s attention that the current

15    briefing schedule for pretrial motions as set forth in ECF No. 251 will not provide the court with

16    sufficient time to review, consider, and draft reports and recommendations on all pending pretrial

17    motions before the trial date. 1 The court therefore will shorten the briefing schedule for pretrial

18    motions as follows:

19           •    Pretrial Motions Deadline: closed

20           •    Responses to pretrial motions: May 29, 2018

21           •    Replies in support of pretrial motions: June 5, 2018

22           This schedule applies to all pending pretrial motions that have been referred to the

23    undersigned, which are as follows:

24           •    Motion for Bill of Particulars (ECF No. 237)

25           •    Motion to Sever Defendant (ECF No. 239)

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27           1
              Calendar call is set for August 6, 2018, and trial is set for August 14, 2018. (Order (ECF
28    No. 251).)
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 1          •   Motion to Compel (ECF No. 256)

 2          •   Motion for Joinder (ECF No. 257)

 3          •   Motion to Dismiss (ECF No. 259)

 4          •   Motion for Joinder (ECF No. 262)

 5          •   Motion for Joinder (ECF No. 263)

 6          •   Motion for Joinder (ECF No. 264)

 7          •   Amended Motion for Bill of Particulars (ECF No. 265)

 8          •   Motion to Disclose Grand Jury Transcripts (ECF No. 266)

 9          •   Motion for Joinder (ECF No. 267)

10          •   Motion for Joinder (ECF No. 270)

11          •   Motion for Joinder (ECF No. 271)

12          •   Motion to Compel (ECF No. 280)

13          •   Motion for Joinder (ECF No. 281)

14          •   Motion for Joinder (ECF No. 282)

15          IT IS SO ORDERED.

16

17          DATED: May 15, 2018

18
                                                      C.W. HOFFMAN, JR.
19                                                    UNITED STATES MAGISTRATE JUDGE
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